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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA


 JOHN DOE 1, et al.,

        Plaintiffs,

 v.                                               Case No. 3:21-cv-01211-AW-
                                                  HTC

 LLOYD J. AUSTIN, III, in his
 official capacity as Secretary of
 Defense, et al.,

        Defendants.


                      [PROPOSED] PROTECTIVE ORDER

       Upon the request of the parties in the above-captioned matter, and pursuant

to Federal Rule of Civil Procedure 26(c), the Court hereby enters the following

protective order to provide a mechanism for those plaintiffs who are proceeding in

this action through pseudonyms (collectively “the Pseudonym Plaintiffs”) to

provide their identities to defendants.

       1.    Provision of the Pseudonym Plaintiffs’ Identities and Under Seal

Filings to Defendants. Upon entry of this protective order, plaintiffs, through their

counsel, will provide the identities and addresses of the Pseudonym Plaintiffs

along with documents that have been filed under seal in this matter to undersigned

defense counsel of record.


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      2.     Limited Dissemination of the Pseudonym Plaintiffs’ Identities. The

following persons may receive notice of the Pseudonym Plaintiffs’ identities: (a)

counsel for defendants, including supervisory officials at the Department of Justice

and agency counsel for defendants; (b) persons regularly in the employ of counsel for

defendants who have a need to know the Pseudonym Plaintiffs’ identities in the

performance of their duties related to this action; (c) persons regularly in the employ

of defendants who have a need to know the Pseudonym Plaintiffs’ identities in the

performance of their duties in conjunction with this action, provided that such

persons agree to and sign the attached undertaking (Appendix A); and (d) potential

witnesses for this action, provided that such persons agree to and sign the attached

undertaking (Appendix A). Counsel for defendants shall maintain copies of all

signed undertakings.




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      3.     Permissible Uses of the Pseudonym Plaintiffs’ Identities. Any person

learning the Pseudonym Plaintiffs’ identities pursuant to this Protective Order

(“Recipient”) shall use that information only for purposes of this litigation and

shall not disclose the Pseudonym Plaintiffs’ identities to anyone except persons

identified in Paragraph 2, absent court order.

      4.     Scope of the Protective Order. This protective order does not alter the

requirements of Northern District of Florida Local Rule 5.5. If any party wishes to

use any document containing the Pseudonym Plaintiffs’ identities, or other

personally identifying information that would lead to the discovery of the

Pseudonym Plaintiffs’ identities, in a court filing or proceeding in this action, they

shall either (i) redact the Pseudonym Plaintiffs’ names and other personally

identifying information or (ii) shall file a motion to seal pursuant to Northern

District of Florida Local Rule 5.5.

      5.     Modifications. Each party reserves the right to seek to modify the

terms of this protective order and Plaintiffs’ pseudonym status at any time. If a

party seeks to modify the protective order, the counsel for the party seeking to

modify this protective order shall confer with counsel for all other parties to this

action.

      IT SO ORDERED, this ______ day of _________________, 2021.




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                                       _________________________________
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                                       UNITED STATES DISTRICT JUDGE




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